               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT

STATE OF MISSOURI, et al.,

            Plaintiffs-Appellees-Cross-Appellants,

      v.                                                    Nos. 24-2332, 24-2351

JOSEPH R. BIDEN, JR., in his official capacity as
President of the United States, et al.,

            Defendants-Appellants-Cross-Appellees.

                          DESIGNATION OF RECORD
      Plaintiffs-Appellees designate the following additional items for inclusion in

the Joint Appendix beyond those identified by Defendants-Appellants:

           • Plaintiffs’ Complaint for Declaratory and Injunctive Relief and
             Exhibits (April 9, 2024), R. Docs. 1, 1-3, 1-4, 1-5, 1-6, 1-7 (first 25
             pages).

           • Plaintiffs’ Motion for a Stay or in the Alternative a Preliminary
             Injunction (April 16, 2024), R. Doc. 7.

           • Defendants’ Motion to Dismiss (May 5, 2024), R. Doc. 21.

           • Plaintiffs’ Motion for Injunction Pending Appeal or Temporary
             Administrative Stay of Agency Action (June 28, 2024), R. Doc. 41.

           • Order Denying Plaintiffs’ Motion for Injunction Pending Appeal or
             Temporary Administrative Stay of Agency Action (June 28, 2024), R.
             Doc. 45.

           • Plaintiffs’ Motion for Clarification (June 29, 2024), R. Doc. 48.

           • Defendants’ Response to Plaintiffs’ Motion for Clarification (July 8,
             2024), R. Doc. 52.


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          • Plaintiffs’ Reply in Support of Motion for Clarification (July 9, 2024),
            R. Doc. 53
      Plaintiffs’-Cross-Appellants set forth the following general substantive issue

for their cross-appeal: Whether the district court erred by preliminarily enjoining

only part of the Final Rule rather than all of it.




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Dated: July 19, 2024                       Respectfully submitted,

                                           /s/ Joshua M. Divine
                                           Joshua M. Divine

 TIM GRIFFIN                               ANDREW BAILEY
   Attorney General of Arkansas              Attorney General of Missouri
 NICHOLAS J. BRONNI                        JOSHUA M. DIVINE, #69875MO
   Solicitor General                         Solicitor General
 DYLAN L. JACOBS                           REED C. DEMPSEY #1697941DC
   Deputy Solicitor General                  Deputy Solicitor General
 Office of the Arkansas Attorney General   SAMUEL FREEDLUND, #73707MO
 323 Center Street, Suite 200                Deputy Solicitor General
 Little Rock, AR 72201                     MISSOURI ATTORNEY GENERAL’S OFFICE
 (501) 682-3661                            Post Office Box 899
 Nicholas.Bronni@arkansasag.gov            Jefferson City, MO 65102
 Dylan.Jacobs@arkansasag.gov               (573) 751-1800
                                           josh.divine@ago.mo.gov
 ASHLEY MOODY                              reed.dempsey@ago.mo.gov
   Attorney General of Florida             samuel.freeland@ago.mo.gov
 JAMES H. PERCIVAL
   Chief of Staff                          CHRISTOPHER M. CARR
 Office of the Attorney General              Attorney General of Georgia
 The Capitol, Pl-01                        STEPHEN J. PETRANY
 Tallahassee, Florida 32399-1050             Solicitor General
 (850) 414-3300                            Office of the Attorney General
 james.percival@myfloridalegal.com         40 Capitol Square, SW
                                           Atlanta, Georgia 30334
DREW H. WRIGLEY                            (404) 458-3408
  Attorney General of North Dakota         spetrany@law.ga.gov
PHILIP AXT
  Solicitor General                        GENTNER DRUMMOND
Attorney General’s Office                    Attorney General
600 E. Boulevard Ave., Dept. 125           GARRY M. GASKINS, II
Bismarck, ND 58505                           Solicitor General
(701) 328-2210                             Office of the Attorney General
pjaxt@nd.gov                               313 N.E. 21st Street
                                           Oklahoma City, OK 73105
                                           Phone: (405) 521-3921
                                           garry.gaskins@oag.ok.gov

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DAVE YOST
  Attorney General of Ohio
T. ELLIOT GAISER
  Solicitor General
MATHURA J. SRIDHARAN
  Deputy Solicitor General
Office of the Attorney General
365 East Broad Street
Columbus, Ohio 43215
Phone: (614) 466-8980
thomas.gaiser@ohioago.gov




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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 19, 2024, I electronically filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the Eighth Circuit

by using the CM/ECF system. I certify that all participants in the case are registered

CM/ECF users and that service will be accomplished through the CM/ECF system.

                                              /s/ Joshua M. Divine
                                              Joshua M. Divine




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